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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF GEORGIA
                                 AUGUSTA DIVISION



UNITED STATES OF AMERICA


                                                    l:15cr077


CHARVIS LAWRENCE




                                        ORDER



       The Defendant has filed a Motion for Continuance ofSentencing showing the Court

that the sentencing hearing currently scheduled for March 21,2016 should be rescheduled.

Defendant asserts that his counsel learned on March 18, 2016 that sentencing was set for

March 21, 2016. Despite this assertion, the Court notes that Defendant's counsel was

noticed on February 16, 2016 through the Court's electronic filing system, of the date and

time of sentencing. However, the Courtwill not punishDefendantfor his counsel's failure

to properly monitor his notices from the Court.

       Therefore, the present Motion (Doc. 342) is hereby GRANTED.

       Sentencing inthe captioned matter is hereby rescheduled for Friday. March 25.2016

at 10:00 a.m.


       SO ORDERED this        f<T day of March, 2016.




                                             J. RANDAL HALI
                                             UNITED STATES DISTRICT JUDGE
                                                  THERN DISTRICT OF GEORGIA
